                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

    LEWIS COSBY, ERIC MONTAGUE, and MARTIN Case No. 3:16-cv-121 (TAV)
    ZIESMAN, as Co-Trustee for the Carolyn K.
    Ziesman Revocable Trust, on behalf of
    themselves and all others similarly situated
    individually and on behalf of all others
    similarly situated,

                            Plaintiffs,
          v.

    KPMG LLP,

                            Defendant.


                  STIPULATION AND AGREEMENT OF SETTLEMENT

         This stipulation and agreement of settlement is made and entered into by and between

Lewis Cosby, Eric Montague, and Martin Ziesman, as Co-Trustee for the Carolyn K. Ziesman

Revocable Trust (collectively “Lead Plaintiffs”), on behalf of themselves and all others similarly

situated, and Defendant KPMG LLP (“KPMG” or “Defendant”), pursuant to Rule 23 of the

Federal Rules of Civil Procedure (the “Stipulation”). Subject to the approval of the Court and the

terms and conditions expressly provided herein, this Stipulation is intended to fully, finally, and

forever compromise, settle, release, resolve and dismiss with prejudice the Action1 and all of the

claims against Defendant.

         WHEREAS:

         A.       The initial complaint in this Action, asserting claims against Deloy Miller, Scott M.

Boruff, Paul W. Boyd, Charles M. Stivers, David M. Hall, Merrill A. McPeak, Jonathan S. Gross,

David J. Voyticky, Don A. Turkleson, Gerald Hannahs, Marceau N. Schlumberger, Bob G. Gower,


1
  All capitalized words or terms not otherwise defined herein shall have the meaning for those words or terms as set
forth in the section below entitled “Definitions” at ¶ 1.

                                                         1

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 1 of 33 PageID #:
                                  21124
Joseph T. Leary, William B. Richardson, Carl E. Giesler, Jr., A. Haig Sherman and KPMG LLP,

was filed on March 15, 2016;

       B.      By order dated February 17, 2017, the Court appointed Lewis Cosby and Kenneth

Martin as Lead Plaintiffs and appointed Gordon Ball PLLC (“Ball”) as Lead Counsel. On May

18, 2017, Lead Plaintiffs moved for Cohen Milstein Sellers & Toll, PLLC (“Cohen Milstein”) to

be appointed as Co-Lead Counsel with attorney Ball. The Court granted the motion and appointed

Cohen Milstein as Co-Lead Counsel on July 24, 2017;

       C.      On May 9, 2017, Plaintiffs filed an Amended Complaint asserting claims against

KPMG and Scott Boruff. Defendant moved to Dismiss the Amended Complaint on July 7, 2017.

       D.      On September 15, 2017, Plaintiffs filed a Second Amended Complaint asserting

claims for (1) violation of Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5

promulgated thereunder against Defendant; (2) violation of Section 10(b) of the Securities

Exchange Act of 1934 and Rule 10b-5(a) and (c) promulgated thereunder against Defendant; and

(3) violation of Section 11 of the Securities Act, on behalf of Lead Plaintiffs and the Class. On

October 20, 2017, Defendant moved to dismiss the Second Amended Complaint;

       E.      By order dated August 2, 2018, the Court denied in part and granted in part

Defendant’s motion to dismiss the Second Amended Complaint. Defendant filed an Answer to

the Complaint on September 7, 2018;

       F.      On March 1, 2019, Plaintiffs filed a motion to substitute Eric Montague and Martin

Ziesman, as Co-Trustee for the Carolyn K. Ziesman Revocable Trust, for Kenneth Martin and

Martin Weakley as Class Representatives. Defendant opposed the motion on April 12, 2019, and

Plaintiffs filed their reply on June 28, 2019;




                                                 2

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 2 of 33 PageID #:
                                  21125
       G.      On March 15, 2019, Plaintiffs filed a Motion to Certify the Classes, Appoint Class

Representatives, and Appoint Class Counsel and submitted the Expert Report of Chad Coffman in

support. By Court Order dated March 19, 2019, the motion was referred to the Magistrate Debra

C. Poplin and the Action was stayed except for resolution of the class certification motion.

Defendant opposed the motion on May 21, 2019, and moved to exclude the Expert Report and

Testimony of Chad Coffman. Plaintiffs filed the Reply in Support of Motion to Certify the Classes,

Appoint Class Representatives, and Appoint Class Counsel on June 14, 2019, and the Opposition

to Defendant’s Motion to Exclude on June 28, 2019. On July 19, 2019, Defendant filed its Reply

in Support of its Motion to Exclude;

       H.      Oral argument on Plaintiffs’ class certification motion, Plaintiffs’ motion to

substitute and Defendant’s motion to exclude was held on December 10, 2019;

       I.      On June 29, 2020, Magistrate Poplin entered an Order granting Plaintiffs’ Motion

to Substitute, entered an Order granting in part and denying in part Defendant’s Motion to Exclude

the Report and Testimony of Chad Coffman, and issued a report and recommendation that

Plaintiffs’ Motion to Certify the Classes, Appoint Class Representatives, and Appoint Class

Counsel be granted;

       J.      On July 13, 2020, Plaintiffs filed a Third Amended Complaint. Defendant moved

to dismiss this complaint on July 27, 2020. Plaintiffs filed an opposition on September 25, 2020

and Defendant filed a reply on October 2, 2020. The Court granted in part and denied in part the

motion to dismiss on May 7, 2021;

       K.      On July 27, 2020, both Plaintiffs and Defendant filed objections to portions of

Magistrate Poplin’s Order on the motion to exclude Chad Coffman’s expert report and testimony.

Briefing on those objections occurred during August and September 2020;



                                                3

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 3 of 33 PageID #:
                                  21126
       L.      Defendant also objected on July 27, 2020 to the report and recommendation to

certify the classes and appoint Class Counsel. The parties submitted briefing on this objection

during August and September 2020;

       M.      On May 7, 2021, the Court entered an order overruling all of the objections to

Magistrate Poplin’s order on the motion to exclude the expert testimony and accepted in whole the

report and recommendation to certify both classes. Accordingly, the Court granted Plaintiffs’

Motion to Certify the Classes, Appoint Class Representatives, and Appoint Class Counsel;

       N.      On May 21, 2021, Defendant filed in the Sixth Circuit the Petition of KPMG LLP

for Permission to Appeal Pursuant to Federal Rule of Civil Procedure 23(f) to challenge the Court’s

Order on class certification. Plaintiffs filed an opposition to the petition on June 1, 2021, and

Defendant filed a motion for leave to file a reply on June 7, 2021. Plaintiffs opposed that request

on June 11, 2021;

       O.      Simultaneously, Defendant filed a motion to stay all proceedings in the District

Court pending its appeal to the Sixth Circuit. Plaintiffs filed an opposition to the Motion to Stay

on June 4, 2021;

       P.      Defendant also filed an Emergency Motion for a Stay of Proceedings Pending

Resolution of its 23(f) Petition, and if Granted, 23(f) Appeal in the Sixth Circuit on May 25, 2021.

Plaintiffs opposed this Motion on June 4, 2021, and Defendant replied on June 11, 2021;

       Q.      The District Court entered an order Denying Defendant’s motion to stay all

proceedings on June 29, 2021;

       R.      On July 15, 2021, the parties engaged in a private mediation session before JAMS

mediator Robert A. Meyer that was unsuccessful in resolving the Action.




                                                 4

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 4 of 33 PageID #:
                                  21127
       S.         On August 26, 2021, the Court referred the Action to Magistrate Steger for a

judicially-hosted settlement conference and stayed the Action pending the mediation. The first

session with Magistrate Steger took place on November 4, 2021, and the second session with

Magistrate Steger took place on November 23, 2021.

       T.         Co-Lead Counsel has conducted an extensive investigation, pursued discovery, and

analyzed the claims and researched the applicable law with respect to the claims against the

Defendant and its potential defenses thereto;

       U.         Co-Lead Counsel and Defendant’s Counsel have engaged in arm’s length

negotiations to resolve the claims by Lead Plaintiffs and the Classes against Defendant, and have

now agreed to settle those claims on terms that include the payment of $35,000,000 for the benefit

of the Classes;

       V.         Based upon their independent investigation, Co-Lead Counsel and Lead Plaintiffs

have concluded that the terms and conditions of this Stipulation are fair, reasonable and adequate

to Lead Plaintiffs and the Settlement Class, and are in the Settlement Class’ best interests, and

have agreed to settle the claims raised in the Action with the Defendant pursuant to the terms and

provisions of this Stipulation, after considering (a) the substantial benefit that the Settlement Class

will receive from the Settlement, (b) the attendant risks of litigation, and (c) the desirability of

permitting the Settlement to be consummated as provided by the terms of this Stipulation; and

       W.         Defendant denies that it committed any acts or omissions giving rise to any liability

and/or violation of law, was prepared to continue to vigorously defend against the Action, and is

entering into this Settlement solely to avoid the burden and expense of further litigation.

       NOW THEREFORE, without any concession by Lead Plaintiffs that the Action lacked

merit, and without any concession by Defendant of any liability or wrongdoing or lack of merit in



                                                    5

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 5 of 33 PageID #:
                                  21128
its defenses, and with express denial by Defendant of any liability or wrongdoing, it is hereby

STIPULATED AND AGREED, by and among the parties to this stipulation, through their

respective attorneys, subject to approval by the Court pursuant to Rule 23(e) of the Federal Rules

of Civil Procedure, in consideration of the benefits flowing to the parties hereto, that all Settled

Claims as against Defendant shall be compromised, settled, released and dismissed on the merits

and with prejudice, upon and subject to the following terms and conditions:

DEFINITIONS

       1.      As used hereinafter in this Stipulation, the following terms shall have the following

meanings:
      a.       “Action” means Lewis Cosby, et al. v. KPMG, LLP, No. 16-cv-121, pending in the

United States District Court for the Eastern District of Tennessee.

       b.      “Authorized Claimant” means a Settlement Class Member who submits a timely

and valid Proof of Claim to the Claims Administrator and does not opt out.

       c.      “Cash Settlement Amount” means $35,000,000.

       d.      “Claims Administrator” means Epiq Global, the firm retained by Co-Lead Counsel,

subject to Court approval, which shall mail and publish the Notices, process Proofs of Claim and

distribute the Settlement Amount to Authorized Claimants.

       e.      “Settlement Class” means:

       (1)     All persons and entities, their agents, successors in interest, assigns, heirs,

executors, and administrators who purchased Miller Energy common stock and Series C or Series

D preferred stock between August 29, 2011 and July 30, 2015 (the “Settlement Class Period”) and

who were damaged thereby (the “Section 10(b) Class”). Excluded from the Section 10(b) Class

are KPMG, the Officers, Directors, Partners, and affiliates of KPMG at all relevant times, members

of their immediate families and their legal representatives, heirs, successors or assigns, and any

                                                 6

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 6 of 33 PageID #:
                                  21129
entity in which KPMG has or had a controlling interest, and the Officers, Directors, Partners, and

affiliates of Miller Energy at all relevant times, members of their immediate families and their

legal representatives, heirs, successors or assigns, and any entity in which Miller Energy has or

had a controlling interest; and

        (2)    All those who purchased Miller Energy Series C or Series D preferred shares

pursuant to or traceable to the Offering Documents (the “Section 11 Class”). Excluded from the

Section 11 Class are KPMG, the Officers, Directors, Partners, and affiliates of KPMG at all

relevant times, members of their immediate families and their legal representatives, heirs,

successors or assigns, and any entity in which KPMG has or had a controlling interest, and the

Officers, Directors, Partners, and affiliates of Miller Energy at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns, and any entity in

which Miller Energy has or had a controlling interest.

        f.     “Settlement Class Distribution Order” means an order of the Court approving the

Claims Administrator’s administrative determinations concerning the acceptance and rejection of

the claims submitted herein, and approving any fees and expenses not previously applied for,

including the fees and expenses of the Claims Administrator and, if the Effective Date has

occurred, directing payment of the Settlement Fund to Authorized Claimants.

        g.     “Settlement Class Member” means any person or entity who or which is a member

of the Settlement Class and is not excluded therefrom.

        h.     “Settlement Class Period” means the period between August 29, 2011 and July 30,

2015.

        i.     “Co-Lead Counsel” means Cohen Milstein Sellers & Toll PLLC and Gordon Ball

PLLC.



                                                  7

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 7 of 33 PageID #:
                                  21130
       j.      “Complaint” means the Third Amended Class Action Complaint filed in the Action

by Lead Plaintiffs on July 13, 2020.

       k.      “Court” means the United States District Court for the Eastern District of

Tennessee.
      l.       “Defendant” means the only remaining defendant named in the Third Amended

Complaint, KPMG LLP.

       m.      “Defendant’s Claims” means any and all claims, rights, demands, obligations,

controversies, debts, damages, losses, causes of action and liabilities of any kind or nature

whatsoever in law or in equity, including both known and Unknown Claims, held at any point

from the beginning of time to the date of the execution of this Stipulation, which claims have been

or could have been asserted by the Defendant against any of the Released Plaintiff Parties and

which arise out of or relate in any way to the institution or prosecution of the Action.

       n.      “Defendant’s Counsel” means the law firms of McDermott Will & Emery LLP,

Waller Lansden Dortch & Davis LLP and Lewis Roca Rothgerber Christie LLP.

       o.      “Defendant’s Releasees” means KPMG LLP, and each and all of its past and

present directors, officers, employees, partners, member firms or affiliates, principals, agents,

representatives, stockholders, parents, subsidiaries, divisions, joint venture partners, attorneys,

consultants, insurers, co-insurers and reinsurers, spouses, heirs, associates, related or affiliated

entities, general or limited partners or partnerships, limited liability companies, members, estates,

administrators, predecessors, successors, assigns, immediate family members, or any trusts for

which any of the foregoing are trustees, settlers or beneficiaries, or any Persons or other entities in

which any Defendant Releasee has a controlling interest or which is related to or affiliated with

any Defendant Releasee, and any other representatives, including legal representatives, of any of



                                                  8

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 8 of 33 PageID #:
                                  21131
the foregoing Persons or other entities, whether or not they were named, served with process or

appeared in the Action.

       p.      “Effective Date,” or the date on which the Settlement becomes “effective,” means

the date upon which the Judgment becomes Final.

       q.      “Escrow Account” means the interest-bearing account maintained by the Escrow

Agent into which the Settlement Amount shall be deposited. The Escrow Account shall be

controlled and maintained by Co-Lead Counsel on behalf of Lead Plaintiffs and the Classes.

       r.      “Escrow Agent” means The Huntington National Bank, the financial institution

selected by Co-Lead Counsel to receive, hold, invest and disburse the Settlement Amount pursuant

to the terms of this Stipulation and the Escrow Agreement.

       s.      “Escrow Agreement” means the escrow agreement among Co-Lead Counsel and

the Escrow Agent with respect to the Escrow Account.

       t.      “Final Fairness Hearing” means the hearing to be held by the Court to make a final

decision pursuant to federal Rule of Civil Procedure 23 as to whether this Settlement Agreement

is fair, reasonable and adequate and, therefore, should be approved by the Court.

       u.      “Final,” with respect to the Judgment, means the later of: (i) if there is an appeal

from the Judgment (other than an appeal solely to the Court’s approval of a Plan of Allocation

and/or the Court’s award of attorneys’ fees, costs or expenses), the date of final affirmance on

appeal and the expiration of the time for any further judicial review whether by appeal,

reconsideration or a petition for a writ of certiorari and, if certiorari is granted, the date of final

affirmance of the Judgment following review pursuant to the grant; or (ii) the expiration of the

time for the filing or noticing of any appeal from the Judgment. Any appeal or proceeding seeking

judicial review pertaining solely to (i) Court approval of the Plan of Allocation of the Settlement



                                                  9

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 9 of 33 PageID #:
                                  21132
 Fund; or (ii) the Court’s award of attorneys’ fees, costs or expenses, shall not in any way delay or

 preclude the Judgment from becoming Final or affect the time set forth above for the Judgment to

 become Final.

        v.         “Judgment” means the final proposed judgment to be entered approving the

 Settlement substantially in the form attached hereto as Exhibit B.

        w.         “KPMG” means KPMG LLP.

        x.         “Miller Energy” means Miller Energy Resources, Inc.

        y.         “Net Settlement Fund” means the Settlement Fund less (i) Court awarded attorneys’

 fees and expenses; (ii) Notice and Administration Expenses; (iii) any required Taxes; and (iv) any

 other fees or expenses approved by the Court.

        z.         “Notice” means the Notice of Proposed Settlement, substantially in the form

 attached hereto as Exhibit 1 to Exhibit A, which is to be available to members of the Classes.

        aa.        “Notice and Administration Expenses” means all expenses incurred in connection

 with the preparation, printing and mailing of the Postcard Notice; the preparation and publication

 of the Publication Notice; the preparation and online publication of the Internet Long Form Notice;

 provided notice to the Class by mail, publication and other means; receiving and reviewing claims;

 applying the Plan of Allocation; corresponding with Settlement Class Members; and the costs of

 the Claims Administrator.

        bb.        “Postcard Notice” means the notice of the proposed Settlement which shall be

 mailed to members of the Class at a later date, substantially in the form attached hereto as Exhibit

 4 to Exhibit A.

        cc.        “Plan of Allocation” means the plan that Lead Plaintiffs will submit to the Court at

 a later date and upon notice to the Class that shall be utilized for distribution of the Net Settlement



                                                    10

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 10 of 33 PageID #:
                                  21133
 Fund to Authorized Claimants in a manner consistent with the terms of this Stipulation, and as

 approved by the Court.

           dd.   “Plaintiffs” means Lead Plaintiffs and the Settlement Class Members.

           ee.   “Preliminary Approval Order” means the proposed order preliminarily approving

 the Settlement, which shall be substantially in the form attached hereto as Exhibit A.

           ff.   “Proof of Claim” means the form which is to be sent to members of the Class

 substantially in the form attached hereto as Exhibit 2 to Exhibit A.

           gg.   “Publication Notice” means the notice of the proposed Settlement which shall be

 published in PR Newswire and Investor’s Business Daily at a later date, substantially in the form

 attached hereto as Exhibit 3 to Exhibit A.

           hh.   “Released Parties” means the Defendant Releasees and the Released Plaintiff

 Parties collectively.

           ii.   “Released Plaintiff Parties” means Lead Plaintiffs, Plaintiffs’ Counsel, and any and

 all of Plaintiffs’ respective families, parent entities, associates, affiliates or subsidiaries, and each

 and all of their respective past and present officers, directors, stockholders, agents, representatives,

 employees, attorneys, financial or investment advisors, advisors, consultants, accountants,

 investment bankers, commercial bankers, trustees, engineers, insurers, co-insurers and reinsurers,

 heirs, executors, general or limited liability partners or partnerships, limited liability companies,

 members, representatives, estates, administrators, predecessors, successors and assigns, or other

 Persons or other entities in which any Plaintiff has a controlling interest or which is related to or

 affiliated with Plaintiffs, and any other representatives of any of these Persons or other entities,

 whether or not any such Released Parties were named, served with process or appeared in the

 Action.



                                                    11

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 11 of 33 PageID #:
                                  21134
        jj.     “Response Deadline” means the last date on which Settlement Class Members may

 submit a request for exclusion or objection to the Settlement as set forth in the Preliminary

 Approval Order.

        kk.     “Settled Claims” means any and all claims, demands, losses, rights, and causes of

 action of every nature and description, whether known or unknown, including Unknown Claims,

 that (a) were or could have been asserted in a complaint in this Action, including but not limited

 to those asserted in the Class Action Complaint filed on March 14, 2016, the Amended Complaint

 filed on May 9, 2017, the Second Amended Class Action Complaint filed on September 15, 2017,

 and the Third Amended Consolidated Complaint filed on July 13, 2020 (collectively, the

 “Complaint”), (b) could have been asserted in this Action against KPMG, or (c) could in the future

 be asserted in any forum whether arising under federal, state, common or foreign law, by Lead

 Plaintiffs or any other member of the Settlement Class, or their successors, assigns, executors,

 administrators, representatives, attorneys, and agents in their capacities as such, which (i) arise out

 of, are based upon, or relate in any way to any of the allegations, acts, transactions, facts, events,

 matters or occurrences, representations or omissions involved, set forth, alleged, or referred to in

 the Complaint or which could have been alleged in this Action; (ii) arise out of, are based upon,

 or relate in any way to the purchase, acquisition, holding, sale, or disposition of any Miller Energy

 securities; and (iii) could have been asserted against KPMG. Defendant shall release Lead

 Plaintiffs, the members of the Settlement Class, and their counsel from any claims relating to the

 institution, prosecution, or settlement of this Action.

        ll.     “Settlement” means the resolution of the Action in accordance with the terms and

 provisions of this Stipulation.

        mm.      “Settlement Amount” means $35,000,000 cash.



                                                   12

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 12 of 33 PageID #:
                                  21135
        nn.     “Settlement Fund” means the Settlement Amount plus any interest earned on any

 monies held in the Escrow Account.

        oo.     “Settlement Hearing” means the preliminary hearing to be held by the Court to

 determine whether the proposed Settlement is fair, reasonable and adequate and should be

 approved.

        pp.     “Settling Parties” means Lead Plaintiffs and KPMG LLP.

        qq.     “Stipulation” means this Stipulation and Agreement of Settlement.

        rr.     “Taxes” means all federal, state, local or other taxes on the income earned by the

 Settlement Fund and expenses and costs incurred in connection with the taxation of the Settlement

 Fund (including, without limitation, expenses of tax attorneys and accountants).

        ss.     “Termination Notice” shall have the meaning set forth below in ¶ 36.

        tt.     “Unknown Claims” means any and all Settled Claims which Lead Plaintiffs in the

 Action or any Settlement Class Member does not know to exist in his, her, or its favor at the time

 of the release of Defendant’s Releasees, and any Defendant’s Claims which Defendant did not

 know to exist in their favor at the time of the release of the Released Plaintiff Parties, which if

 known might have affected the decision to enter into the Settlement. With respect to any and all

 Settled Claims and Defendant’s Claims, the parties stipulate and agree that upon the Effective

 Date, Lead Plaintiffs and Defendant shall expressly, and each Settlement Class Member shall be

 deemed to have, and by operation of the Judgment shall have, expressly waived any and all

 provisions, rights and benefits conferred by any law of any state or territory of the United States

 or principle of common law, which is similar, comparable, or equivalent to Cal. Civ. Code § 1452,

 which provides:

                A general release does not extend to claims which the creditor does
                not know or suspect to exist in his or her favor at the time of

                                                 13

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 13 of 33 PageID #:
                                  21136
                executing the release, which if known by him or her must have
                materially affected his or her settlement with the debtor.

 The Settling Parties acknowledge, and each Settlement Class Member by operation of law shall be

 deemed to have acknowledged, that they may discover facts different from or in addition to those

 that they now know or believe to be true with respect to the subject matter of the Settled Claims,

 but the Settling Parties expressly have, and each of the Settlement Class Members shall be deemed

 to have, fully, finally and forever settled and released any and all Settled Claims, known or

 unknown, suspected or unsuspected, that now exist, or heretofore existed, or may have existed,

 without regard to the subsequent discovery of different or additional facts. Lead Plaintiffs and

 Defendant acknowledge, and other Settlement Class Members by operation of law shall be deemed

 to have acknowledged, that the inclusion of “Unknown Claims” in the definition of Settled Claims

 and Defendant’s Claims was separately bargained for and was a key element of this Settlement.

 CLASS CERTIFICATION

        2.      The District Court certified the Settlement Class consisting of both the Section

 10(b) Class and the Section 11 Class pursuant to a Memorandum Opinion and Order issued on

 May 7, 2021 (ECF No. 211), and in addition, the Settling Parties stipulate to certification of the

 Settlement Class pursuant to 23 of the Federal Rules of Civil Procedure solely for purposes of the

 Settlement and for no other purpose. In the event that the Judgment does not become Final or the

 Settlement fails to become effective for any reason, the Settling Parties reserve all their rights,

 including Defendant’s rights to seek de-certification in the District Court and object to and oppose

 class certification on appeal, and this Stipulation shall not be offered as evidence of any agreement,

 admission, or concession that any class should be or should remain certified in the Action.

 RELEASES




                                                  14

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 14 of 33 PageID #:
                                  21137
         3.      The obligations incurred pursuant to this Stipulation are in full and final disposition

 of the Action with respect to all Released Parties and any and all Settled Claims and Defendant’s

 Claims.

         4.      As of the Effective Date, Lead Plaintiffs and each Settlement Class Member on

 behalf of themselves, and each of their respective predecessors, successors, parents, subsidiaries,

 affiliates, agents, representatives, heirs, executors, trustees, and administrators, by operation of the

 Judgment, will release and forever discharge each and every Settled Claim, as against each and all

 of the Defendant Releasees and shall forever be barred and enjoined from commencing, instituting

 or maintaining any of the Settled Claims against the Defendant Releasees.

         5.      As of the Effective Date, Defendant by operation of the Judgment, will release and

 forever discharge each and every Defendant’s Claims, and shall forever be barred and enjoined

 from commencing, instituting or maintaining any of Defendant’s Claims against any of the

 Released Plaintiff Parties.

         6.      Only those Settlement Class Members filing valid and timely Proofs of Claim shall

 be entitled to participate in the Settlement and receive a distribution from the Settlement Fund.

 The Proof of Claim to be executed by Settlement Class Members shall release all Settled Claims

 against the Released Parties, and shall be substantially in the form attached hereto as Exhibit 2 to

 Exhibit A. All Settlement Class Members shall be bound by the releases set forth in this

 Stipulation, whether or not they submit a valid and timely Proof of Claim.

 THE SETTLEMENT CONSIDERATION

         7.      In full settlement of the Settled Claims, including without limitation the claims

 asserted in the Action against Defendant, and in consideration of the releases specified in ¶ 1 and

 ¶ 3-6 above, KPMG shall cause to be paid the Case Settlement Amount of $35,000,000 to be paid



                                                   15

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 15 of 33 PageID #:
                                  21138
 into the Escrow Account within fifteen (15) business days after the Preliminary Approval Order is

 entered. Upon payment of the Settlement Amount into the Escrow Account, Defendant and the

 Defendant Releasees shall have no further liability or obligation to make payment into the

 Settlement Fund or otherwise with respect to the Action, the Settlement or this Stipulation, and

 neither Lead Plaintiffs, Settlement Class Members nor Co-Lead Counsel shall have any recourse

 against Defendant or Defendant Releasees regarding any of the foregoing.

 USE AND ADMINISTRATION OF SETTLEMENT FUND

        8.      The Settlement Fund may be used: (i) to pay any Taxes; (ii) to pay Notice and

 Administration Expenses; (iii) to pay any attorneys’ fees and expenses awarded by the Court; (iv)

 to pay any other fees and expenses approved by the Court; and (v) to pay claims of Authorized

 Claimants determined valid for payment. The Settlement Fund shall be the sole source for the

 payment of Taxes, Notice and Administration Expenses, attorneys’ fees and expenses awarded by

 the Court, other fees and expenses approved by the Court, and claims of Authorized Claimants,

 and Plaintiffs will have no recourse against Defendant with respect to any such payments.

        9.      Defendant shall have no responsibility or liability for the maintenance or

 distribution of the Settlement Fund pursuant to this Settlement. Defendant shall not bear any cost

 or responsibility for Taxes; Notice and Administration Expenses; attorneys’ fees and expenses

 approved by the Court; other fees and expenses approved by the Court; or the allocation or payment

 of the Settlement Amount among Authorized Claimants.

        10.     The Net Settlement Fund shall remain in the Escrow Account until the Effective

 Date, whereafter the Net Settlement Fund shall be distributed to Authorized Claimant as provided

 in ¶ ¶ 19-29 hereof. All funds held by the Escrow Agent shall be deemed to be in the custody of

 the Court, and shall remain subject to the jurisdiction of the Court until such time as the funds shall



                                                   16

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 16 of 33 PageID #:
                                  21139
 be distributed or returned pursuant to this Stipulation and/or further order of the Court. The Escrow

 Agent shall invest any funds in the Escrow Account in United States Treasury Bills or, if approved

 by each of the Co-Lead Counsel and Lead Plaintiffs, in money market funds with one or more of

 the fifty (50) largest banking institutions in the United States, and shall collect and reinvest all

 interest accrued thereon. Co-Lead Counsel has structured the Escrow Account so that it will

 qualify as a “qualified settlement fund,” as that term is defined in Treas. Reg. § 1.468B-1, which

 has been promulgated under Section 468B of the Internal Revenue Code of 1986, as amended) and

 the parties hereto accordingly agree to treat the Settlement Fund as a Qualified Settlement Fund

 within the meaning of Treasury Regulation § 1.468B-1, and that Co-Lead Counsel, as

 administrator of the Settlement Fund within the meaning of Treasury Regulation § 1.486B-2(k)(3),

 shall be responsible for timely filing tax returns and any relevant tax filings and documentation

 relating thereto for the Settlement Fund and timely paying from the Settlement Fund any Taxes

 owed with respect to the Settlement Fund. Defendant as transferor agrees to provide promptly to

 Co-Lead Counsel the required statement described in Treasury Regulation § 1.468B-3(e).

        11.     All Taxes shall be paid out of the Settlement Fund and shall be timely paid by the

 Escrow Agent without prior order of the Court. Any Tax returns prepared for the Settlement Fund

 (as well as the election set forth therein) shall be consistent with the previous paragraph, and in all

 events shall reflect that all Taxes (including any interest or penalties) on the income earned by the

 Settlement Fund shall be paid out of the Settlement Fund as provided herein. The Settlement Fund

 shall indemnify and hold Defendant harmless for Taxes and related expenses (including without

 limitation, taxes payable by reason of any such indemnification), if any, payable by Defendant by

 reason of the income earned on the Settlement Fund. Defendant shall notify the Escrow Agent

 promptly it if receives any notice of any claim for Taxes relating to the Settlement Fund.



                                                   17

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 17 of 33 PageID #:
                                  21140
        12.     Co-Lead Counsel may pay from the Escrow Account Notice and Administration

 Expenses up to $200,000 without further agreement of Defendant.

        13.     Co-Lead Counsel may pay from the Settlement Amount all reasonable costs and

 expenses associated with the administration of the Settlement, including, without limitation, the

 actual costs of identifying and notifying Settlement Class Members, disseminating the Notices, the

 administrative expenses incurred and fees charged by the Claims Administrator in connection with

 mailing notices and processing the submitted claims, and any other Notice and Administration

 Expenses. In the event that the Settlement is not approved, is terminated or otherwise does not

 become effective, all monies paid by Defendant into the Settlement Fund shall be returned to the

 Defendant, with interest actually earned, except that amounts used to pay for Notice and

 Administration Expenses, up to $200,000, shall not be returned.

        14.     Co-Lead Counsel will apply to the Court for a Settlement Class Distribution Order,

 on notice to Defendant’s Counsel, approving the Claims Administrator’s administrative

 determinations concerning the acceptance and rejection of the claims submitted herein and

 approving any fees and expenses not previously applied for, including the fees and expenses of the

 Claims Administrator, and, if the Effective Date has occurred, directing the payment of the Net

 Settlement Fund to Authorized Claimants.

        15.     This is not a claims-made settlement. As of the Effective Date, neither Defendant

 nor any person paying the Settlement Amount or any portion of the Settlement Amount on behalf

 of Defendant shall have any right to the return of the Settlement Fund or any portion thereof

 irrespective of the number of Proofs of Claim filed, the collective amount of losses of Authorized

 Claimants, the percentage of recovery of losses, or the amounts to be paid to Authorized Claimants

 from the Net Settlement Fund.



                                                18

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 18 of 33 PageID #:
                                  21141
        16.     The Claims Administrator will administer the Settlement under Co-Lead Counsel’s

 supervision and subject to the jurisdiction of the Court for all members of the Settlement Class.

 Defendant and Defendant Releasees will have no responsibility for the administration of the

 Settlement and shall have no liability to the Settlement Class in connection with such

 administration, Notice and Administration Expenses, or any related costs or expenses, and shall

 have no role in the management or investment of the Settlement Fund. Lead Plaintiffs shall be

 solely responsible, subject to Court approval, for notice to the Settlement Class, administration,

 and the allocation of the Settlement Amount among Settlement Class members. Such allocation,

 or changes to any plan of allocation, shall not affect the finality of the Settlement.

        17.     On a schedule to be set by the Court, Co-Lead Counsel will cause the Claims

 Administrator to mail the Postcard Notice to those members of the Settlement Class whose

 addresses may be identified through reasonable effort.          Co-Lead Counsel will publish the

 Publication Notice of the proposed Settlement on one occasion in PR Newswire within ten (10)

 days of the mailing of the Notice, and on one subsequent occasion in Investors Business Daily, or

 in such form or manner as may be ordered by the Court. Co-Lead Counsel will post the Internet

 Long Form Notice and Proof of Claim form on a website where they will be available to Settlement

 Class Members.




 ATTORNEYS’ FEES AND EXPENSES

        18.     Co-Lead Counsel may apply to the Court for a collective award from the Settlement

 Fund of attorneys’ fees not to exceed 33 1/3% of the Settlement Fund. Co-Lead Counsel also will

 apply to the Court for reimbursement of litigation expenses to be paid from the Settlement Fund,



                                                   19

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 19 of 33 PageID #:
                                  21142
 and for incentive awards, not to exceed $45,000 in total, for the three lead plaintiffs. Defendant

 will take no position on any request for attorneys’ fees, litigation expenses or the incentive awards,

 or on allocation of any award of fees amongst Plaintiffs’ Counsel. Defendant and Defendant

 Releasees shall have no liability for attorneys’ fees, litigation expenses or incentive awards.

 Following entry by the Court of an order awarding Co-Lead Counsel’s attorneys’ fees and

 expenses (the “Fee and Expense Order”), any attorneys’ fees and expenses as are awarded by the

 Court shall be paid from the Settlement Fund to Co-Lead Counsel within three (3) days upon

 award, notwithstanding the existence of any timely filed objections thereto, or potential for appeal

 therefrom, or collateral attack on the Settlement or any part thereof. In the event that the Effective

 Date does not occur or the Settlement is terminated pursuant to its terms, or if, as the result of any

 appeal or further proceedings on remand, or successful collateral attack, the Fee and Expense Order

 is reversed or modified pursuant to a Final court order and attorneys’ fees and expenses have been

 paid out of the Escrow Account to any extent, then Co-Lead Counsel shall be obligated and do

 hereby agree, within fifteen (15) business days after receiving notice of the foregoing from

 Defendant’s Counsel or from a court of appropriate jurisdiction, to refund to the Escrow Account

 such attorneys’ fees and expenses that had been paid to them plus accrued interest at the rate paid

 on the Escrow Account by the financial institution holding it. Co-Lead Counsel shall allocate the

 attorneys’ fees awarded in a manner which they, in good faith, believe reflects the contributions

 of such counsel to the institution, prosecution and settlement of the Action. If Co-Lead Counsel

 cannot agree on the allocation, the allocation will be decided by the Court. Defendant and

 Defendant Releasees shall have no responsibility for, and no liability whatsoever, with respect to

 the allocation of attorneys’ fees or litigation expenses.

 DISTRIBUTION TO AUTHORIZED CLAIMANTS



                                                   20

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 20 of 33 PageID #:
                                  21143
        19.     The Claims Administrator shall determine each Authorized Claimant’s pro rata

 share of the Net Settlement Fund in accordance with ¶¶ 20-29 below and the Plan of Allocation.

        20.     Lead Plaintiffs shall propose to the Court a Plan of Allocation pursuant to which

 the Net Settlement Fund shall be distributed to Authorized Claimants and shall seek approval of

 the Court for such Plan of Allocation at the Final Fairness Hearing. Approval of the proposed Plan

 of Allocation set forth in the Internet Long Form Notice is not a condition to the Settlement and

 Effective Date. Lead Plaintiffs and Co-Lead Counsel may not cancel or terminate the Stipulation

 or the Settlement in accordance with ¶¶ 36-37 below or otherwise based on this Court’s or any

 appellate court’s ruling solely with respect to the Plan of Allocation or any plan of allocation in

 the Action. Defendant has no responsibility or liability for allocation of the Net Settlement Fund.

        21.     All cash distributions to Authorized Claimants shall be from the Net Settlement

 Fund pursuant to an approved Plan of Allocation.

        22.     To receive a cash distribution from the Net Settlement Fund, a Settlement Class

 Member must be an Authorized Claimant pursuant to the procedures set out in this Settlement

 Agreement or by order of the Court and must submit a Proof of Claim.

        23.     Each Authorized Claimant who wishes to receive a distribution from the Net

 Settlement Fund must complete and submit a Proof of Claim (i) by first-class mail, such that it is

 postmarked no later than the date set forth in the Notices, or (ii) so that it is actually received at

 the address on the Proof of Claim form by the date stated in the Notices, unless that date is extended

 by order of the Court. The address to which the Proof of Claim must be mailed shall be stated in

 the Proof of Claim form itself and shall also be printed in the Notices.

        24.     The Proof of Claim must be sworn on oath or made subject to the penalties of

 perjury pursuant to 28 U.S.C. § 1746, must be supported by such documents and other information



                                                  21

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 21 of 33 PageID #:
                                  21144
 as called for in the Proof of Claim, and must be submitted by the date provided thereon. A Proof

 of Claim shall be deemed to have been submitted when posted, if received with a postmark

 indicated on the envelope and if mailed first-class postage prepaid and addressed in accordance

 with the instructions thereon, provided that it is received before the motion for the Settlement Class

 Distribution Order is filed. In all other cases, the Proof of Claim shall be deemed to have been

 submitted when actually received by the Claims Administrator.

        25.      The Proof of Claim shall be substantially in the form attached hereto as Exhibit 2

 to Exhibit A.

        26.      The validity of each Proof of Claim filed will be initially determined by the Claims

 Administrator in accordance with the Plan of Allocation approved by the Court. The Claims

 Administrator shall promptly advise the claimant in writing if it determines to reject the claim.

 Neither Co-Lead Counsel, nor its designees or agents, nor Defendant, nor Defendant’s Counsel

 shall have any liability arising out of such determination. If any claimant whose claim has been

 rejected in whole or in part desires to contest such rejection, the claimant must, within twenty (20)

 days after the date of the Claims Administrator’s mailing of the writing rejecting the claimant’s

 claim, serve upon the Claims Administrator a notice and statement of reasons indicating the

 claimant’s grounds for contesting the rejection along with any supporting documentation, and

 requesting a review thereof by the Court. If a dispute concerning a claim cannot be otherwise

 resolved, Co-Lead Counsel, shall thereafter present the request for review to the Court for

 summary resolution, without any right of appeal or review. Any such claimant shall be responsible

 for his, her or its own costs, including, without limitation, attorneys’ fees incurred in pursuing any

 dispute. All proceedings with respect to the administration, processing and determination of

 claims described in this Stipulation and the determination of all controversies relating thereto,



                                                  22

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 22 of 33 PageID #:
                                  21145
 including disputed questions of law and fact with respect to the validity of claims, shall be subject

 to the jurisdiction of the Court.

         27.    All initial determinations as to the validity of a Proof of Claim, the amount of any

 claims and the calculation of the extent to which each Authorized Claimant will participate in the

 Distribution Amount, the preparation and mailing of distributions to Authorized Claimants, and

 the distribution of the Distribution Amount shall be made by the Claims Administrator. The

 Administration of the Net Settlement Fund, and decisions on all disputed questions of law and fact

 with respect to the validity of any Proof of Claim or regarding the rejection or amount of any claim,

 shall remain under the jurisdiction of the Court. All Settlement Class Members expressly waive

 trial by jury (to the extent any such right may exist) and any right of appeal or review with respect

 to such determinations.

         28.    Unless otherwise ordered by the Court, any Settlement Class Member who fails to

 submit a valid and timely Proof of Claim shall be barred from receiving a distribution from the

 Net Settlement Fund. Any Settlement Class Member who fails to submit a valid and timely Proof

 of Claim shall nevertheless be bound by the releases set forth in ¶¶ 3-6 above and by all

 proceedings, orders and judgments in the Action even if he, she or it does not receive a distribution

 from the Net Settlement Fund and/or has pending, or subsequently initiates, any litigation,

 arbitration or other proceeding, or has any Claim, against the Defendant that is, or relates in any

 way, to any Settled Claim.

         29.    The Net Settlement Fund shall be distributed to Authorized Claimants by the

 Claims Administrator only after the Effective Date and after all claims have been processed and

 all claimants whose claims have been rejected or disallowed, in whole or in part, have been notified




                                                  23

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 23 of 33 PageID #:
                                  21146
 and provided the opportunity to communicate with the Claims Administrator concerning such

 rejection or disallowance.

 REQUESTS FOR EXCLUSION

        30.     Any Settlement Class Member may seek to be excluded from the Settlement Class

 and the Settlement provided for in this Stipulation by submitting a written request for exclusion in

 conformity with the requirements set forth in the Notices. Any members of the Settlement Class

 so excluded shall not be bound by the terms of the Stipulation, or be entitled to any of its benefits,

 and shall not be bound by the Judgment and/or other order of the Court, whether pursuant to this

 Stipulation or otherwise.

        31.     Settlement Class Members requesting exclusion from the Settlement Class shall file

 a written request prior to the Response Deadline that: (i) provides the name, address, telephone

 number, and signature of the Settlement Class Member requesting exclusion; (ii) states the specific

 reason for the request for exclusion, including any legal and evidentiary support the Settlement

 Class Member wishes to bring to the Court’s attention; and (iii) includes documents sufficient to

 prove the Settlement Class Member’s membership in the Settlement Class, such as the number of

 Miller Energy common or Series C or Series D preferred shares purchased, acquired or sold, as

 well as the dates and prices of each such purchase, acquisition, or sale. Unless otherwise ordered

 by the Court, any Settlement Class Member who does not submit a timely written request for

 exclusion as provided by this section shall be bound by the Stipulation.



 TERMS OF THE PRELIMINARY APPROVAL ORDER




                                                  24

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 24 of 33 PageID #:
                                  21147
        32.     Within three (3) days after execution of this Stipulation, Co-Lead Counsel shall

 apply to the Court for entry of an order preliminarily approving settlement of the Action,

 substantially in the form of the Preliminary Approval Order attached hereto as Exhibit A.

 TERMS OF THE JUDGMENT

        33.     If the Settlement contemplated by this Stipulation is approved by the Court, Lead

 Counsel and Defendant’s Counsel shall jointly request that the Court enter a Judgment

 substantially in the form attached hereto as Exhibit B.

        34.     The Judgment shall contain a provision barring claims for contribution or indemnity

 to the fullest extent permitted by 15 U.S.C. § 78u-4(f)(7) and any other applicable law or

 regulation, by or against Defendant.

        35.     The Settlement is contingent upon final court approval; the Settlement becoming

 final and non-appealable; the Settlement becoming effective; payment in full of the Settlement

 Amount; Defendant’s not exercising its option to terminate the Settlement; dismissal of the Action

 as to Defendant with prejudice; and the Judgment becoming Final. Should those conditions not

 be met, the Settlement shall be null and void.

 TERMINATION

        36.     Defendant and Lead Plaintiffs shall have the right to terminate the Settlement and

 this Stipulation by providing written notice of their election to do so (“Termination Notice”) to all

 other parties hereto within thirty (30) days of: (a) the Court’s declining to enter the Preliminary

 Approval Order in any material respect; (b) the Court’s refusal to approve this Stipulation or any

 part of it without reasonable leave to amend; (c) the Court’s declining to enter the Judgment in any

 material respect; (d) the date upon which the Judgment is modified or reversed in any material

 respect by the United States Court of Appeals or the Supreme Court of the United States; (e) the



                                                  25

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 25 of 33 PageID #:
                                  21148
 failure of the petition filed by KPMG for Permission to Appeal Pursuant to Federal Rule of Civil

 Procedure 23(f) to challenge the Court’s Order on class certification, filed on May 21, 2021 in

 Lewis Cosby et al. v. KPMG LLP, Case Number: 21-505 (6th Cir.) (Doc. No. 1) being disposed of

 in a manner that does not undermine the validity of the Settlement Class; (f) the failure of the

 petition to stay the Action, filed on May 25, 2021 in Lewis Cosby et al. v. KPMG LLP, Case

 Number: 21-505 (6th Cir.) (Doc. No. 5) being disposed of in a manner that does not undermine

 the validity of the Settlement Class; or (g) in the event that the Court enters a judgment in a form

 other than the Judgment (“Alternative Judgment”) and none of the parties hereto elects to terminate

 this Settlement, the date upon which such Alternative Judgment is modified or reversed in any

 material respect by the United States Court of Appeals or the Supreme Court of the United States.

 The award of attorneys’ fees, if any, to Co-Lead Counsel is not a basis for termination of this

 Settlement Agreement.

        37.     In addition, if the number of Settlement Class Members who submitted timely and

 valid written requests for exclusion from the Settlement equals or exceeds the threshold (the “Opt-

 Out Threshold”) calculated pursuant to a separate agreement executed between Co-Lead Counsel

 and Defendant’s Counsel, which is incorporated by reference into this Stipulation (the

 “Supplemental Agreement”), Defendant shall have, in its sole and absolute discretion, the option

 to terminate this Settlement pursuant to the terms in the Supplemental Agreement. The Opt-Out

 Threshold shall remain confidential but may be disclosed in camera to the Court for purposes of

 approval of the Settlement, as may be required by the Court, but such disclosure shall be carried

 out to the fullest extent possible in accordance with the practices of the Court so as to maintain the

 confidentiality of the Opt-Out Threshold.




                                                  26

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 26 of 33 PageID #:
                                  21149
        38.     Except as otherwise provided herein, in the event the Settlement is terminated or

 fails to become effective for any reason, then the Settlement shall be without prejudice and none

 of its terms shall be effective or enforceable except as specifically provided herein, the parties to

 this Stipulation shall be deemed to have reverted to their respective status in the Action as of

 August 26, 2021, and, except as otherwise expressly provided, the parties in the Action shall

 proceed in all respects as if this Stipulation and any related orders had not been entered. In such

 event, the fact and terms of this Stipulation shall not be admissible in any trial or any other

 proceedings of this Action or any other action or proceeding.

        39.     If the Settlement Amount, or any portion thereof, is to be returned pursuant to the

 provisions of this Stipulation, any portion of the Settlement Amount previously paid by or on

 behalf of Defendant, plus interest earned less any Taxes paid or due (in which case the deducted

 funds will be used to pay such Taxes) with respect to such interest income, and less any Notice

 and Administration Expenses actually paid or incurred shall be returned to the source of such

 payments.

 NO ADMISSION OF WRONGDOING

        40.     This Stipulation, whether or not consummated, and any negotiations, proceedings,

 agreements, documents or statements relating to the Stipulation, the Settlement, and any matters

 arising in connection with settlement negotiations, proceedings, or agreements:

        a.      shall not be admissible in any action or proceeding for any reason, other than an

 action to enforce the terms hereof;

        b.      shall not be described as, construed as, offered or received against Defendant as

 evidence of and/or deemed to be evidence of any presumption, concession, or admission by

 Defendant of: the truth of any fact alleged by Lead Plaintiffs; the validity of any claim that has



                                                  27

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 27 of 33 PageID #:
                                  21150
 been or could have been asserted in the Action or in any litigation; the deficiency of any defense

 that has been or could have been asserted in the Action or in any litigation; or any liability,

 negligence, fault, or wrongdoing of Defendant;

        c.      shall not be described as, construed as, offered or received against Lead Plaintiffs

 or any Settlement Class Member as evidence of any infirmity in the claims of said Lead Plaintiffs

 and the Settlement Class or that damages recoverable under the Complaint would not have

 exceeded the Settlement Amount;

        d.      shall not be described as, construed as, offered or received against any of the parties

 to this Stipulation or any of the Defendant Releasees or Plaintiff Released Parties, in any other

 civil, criminal or administrative action or proceeding, provided, however, that (i) if it is necessary

 to refer to this Stipulation to effectuate the provisions of this Stipulation, it may be referred to in

 such proceedings, and (ii) if this Stipulation is approved by the Court, the Defendant Releasees

 may refer to it to effectuate the liability protection granted to them hereunder; and

        e.      shall not be described as or construed against Defendant, Defendant Releasees or

 the Lead Plaintiffs and any Settlement Class Members as an admission or concession that the

 consideration to be given hereunder represents the amount which could be or would have been

 awarded to said Lead Plaintiffs or Settlement Class Members after trial.

 CAFA NOTICE

        41.     Defendant shall serve any notice of the Settlement required pursuant to the Class

 Action Fairness Act of 2005 (the “CAFA Notice”), 28 U.S.C. § 1715(b), within the time period

 set forth is said statue and shall, within three (3) business days after service of such CAFA Notice,

 notify Co-Lead Counsel that such service has been made. The Settling Parties agree that they will

 request that, pursuant to 28 U.S.C. § 1715(d), the Final Approval Hearing be scheduled for no



                                                   28

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 28 of 33 PageID #:
                                  21151
 earlier than ninety (90) days following the deadline for Defendant to serve the CAFA Notice as

 stated in this paragraph. The Settling Parties agree that any delay by Defendant in timely serving

 the CAFA Notice will not provide grounds for delay of the Final Approval Hearing or entry of the

 Judgment. Defendant shall be responsible for all costs and expenses related to the creation and

 service of the CAFA Notice.

 MISCELLANEOUS PROVISIONS

         42.     The Settling Parties agree that the United States District Court for the Eastern

 District of Tennessee has exclusive jurisdiction over this Settlement.

         43.     All of the exhibits attached hereto are hereby incorporated by reference as though

 fully set forth herein.

         44.     KPMG warrants that it is not insolvent, nor will the payment of the Settlement

 Amount render it insolvent, within the meaning of and/or for the purposes of the United States

 Bankruptcy Code, including § § 101 and 547 thereof.

         45.     If a case commenced in respect of any Defendant under Title 11 of the United States

 Code (Bankruptcy), or a trustee, receiver or conservator is appointed under any similar law, and

 in the event of the entry of a final order of a court of competent jurisdiction determining the transfer

 of money to the Settlement Fund or any portion thereof by or on behalf of the Defendant to be a

 preference, voidable transfer, fraudulent transfer or similar transaction, and any portion thereof is

 required to be returned, and such amount is not promptly deposited to the Settlement Fund by

 others, then, at the election of Lead Plaintiffs, the Parties shall jointly move the Court to vacate

 and set aside the releases given and the Judgment entered in favor of Defendant pursuant to this

 Stipulation, which release and Judgment shall be null and void, and the parties shall be restored to




                                                   29

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 29 of 33 PageID #:
                                  21152
 their respective positions in the litigation as of August 26, 2021, and any cash amounts in the

 Settlement Fund shall be returned as provided above.

        46.     The parties to this Stipulation and Agreement of Settlement intend the Settlement

 of the Action to be a final and complete resolution of all disputes asserted or which could be

 asserted by Lead Plaintiffs and Settlement Class Members against Defendant with respect to the

 Settled Claims. Accordingly, Lead Plaintiffs and Defendant agree not to assert in any forum that

 the Action was brought or defended in bad faith or without a reasonable basis. The Parties hereto

 shall assert no claims of any violation of Rule 11 of the Federal Rules of Civil Procedure relating

 to the maintenance, defense or settlement of the Action. The parties agree that the amount paid

 and the other terms of the Settlement were negotiated at arm’s length in good faith by the parties,

 and reflect a settlement that was reached voluntarily after consultation with experienced legal

 counsel. Lead Plaintiffs and Settlement Class Members agree not to seek any additional discovery

 of any form from Defendant related to Settled Claims.

        47.     The Settling Parties (a) acknowledge that it is their intent to consummate this

 Stipulation; and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to the

 extent reasonably necessary to effectuate and implement all terms and conditions of this

 Stipulation and to exercise their reasonable best efforts to accomplish the foregoing terms and

 conditions of this Stipulation. Co-Lead Counsel and Defendant’s Counsel agree to cooperate with

 one another in seeking Court approval of the Stipulation and Settlement, and to promptly agree

 upon and execute all such other documentation as may be reasonably required to obtain final

 approval of the Settlement.

        48.     This Stipulation may not be modified or amended, nor may any of its provisions be

 waived, except by a writing signed by all parties hereto or their successors-in-interest.



                                                   30

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 30 of 33 PageID #:
                                  21153
        49.      The headings herein are used for the purpose of convenience only and are not meant

 to have legal effect.

        50.      The administration and consummation of the Settlement as embodied in this

 Stipulation shall be under the authority of the Court, and the Court shall retain jurisdiction for the

 purpose of entering orders providing for awards of attorneys’ fees and expenses to Lead Counsel

 and enforcing the terms of this Stipulation.

        51.      The waiver by one party of any breach of this Stipulation by any other party shall

 not be deemed a waiver of any other prior or subsequent breach of this Stipulation.

        52.      This Stipulation and its exhibits constitute the entire agreement among the parties

 hereto concerning the Settlement of the Action as against Defendant, and no representations,

 warranties, or inducements have been made by any party hereto concerning this Stipulation and

 the exhibits other than those contained and memorialized in such documents.

        53.      This Stipulation may be executed in one or more counterparts. All executed

 counterparts and each of them shall be deemed to be one and the same instrument provided that

 counsel for the parties to this Stipulation shall exchange among themselves original signed

 counterparts.

        54.      This Stipulation shall be binding when signed, but the Settlement shall be effective

 only on the condition that the Effective Date occurs.

        55.      This Stipulation shall be binding upon, and inure to the benefit of, the successors

 and assigns of the parties hereto.

        56.      The construction, interpretation, operation, effect and validity of this Stipulation,

 and all documents necessary to effectuate it, shall be governed by the internal laws of the State of




                                                  31

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 31 of 33 PageID #:
                                  21154
 Tennessee without regard to conflicts of laws, except to the extent that federal law requires that

 federal law govern.

         57.     This Stipulation shall not be construed more strictly against one party than another

 merely by virtue of the fact that it, or any party of it, may have been prepared by counsel for one

 of the parties, it being recognized that it is the result of arm’s length negotiations among the parties,

 and all parties have contributed substantially and materially to the preparation of this Stipulation.

         58.     The Settling Parties agree that all parties and attorneys participating in this action

 have complied with Federal Rule of Civil Procedure 11(b) as required by the Private Securities

 Litigation Reform Act of 1995, 15 U.S.C. § 78u-4(c)(1).

         59.     Plaintiffs and their counsel and Defendant and Defendant’s Counsel (as well as any

 counsel that previously appeared in this Action on behalf of Defendant) shall not make any

 accusations of wrongful or actionable conduct by any Party concerning the prosecution, defense,

 and resolution of the Action, and shall not otherwise suggest that this Settlement constitutes an

 admission of any claim or defense alleged.

         60.     All counsel and any other person executing this Stipulation and any of the exhibits

 hereto, or any related settlement documents, warrant and represent that they have the full authority

 to do so, and that they have the authority to take appropriate action required or permitted to be

 taken pursuant to the Stipulation to effectuate its terms.

         IN WITNESS WHEREOF, Lead Plaintiffs and Defendant have caused this Stipulation

 to be executed, by their duly authorized attorneys, as of March 11, 2022.




                                                    32

Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 32 of 33 PageID #:
                                  21155
    �              G. ��1
   MCDERMOTT WILL &EMERY LLP             COHE
   Gregory G. Ballard                    &TOLL PLLC
   Ludwig von Rigal                      Laura H. Posner
   One Vanderbilt Avenue                 88 Pine Street, 14th Floor
   New York, NY 10017                    New York, NY 10005
   Tel: (212) 547-5330                   Tel: (212) 220-2925
   gballard@mwe.com                      Fax: (212) 838-7745
   lvonrigal@mwe.com                     lposner@cohenmilstein.com

   Allyson E. Riemma                     Steven J. Toll
   444 West Lake Street                  Susan G. Taylor
   Chicago, IL 60606                     Jan E. Messerschmidt
   Tel: (312) 372-2000                   1100 New York Ave. NW, Suite 500
                                         Washington, D.C. 20005

     (Z,/�                               Tel: (202) 408-4600
                                         Fax: (202) 408-4699
                                         stoll@cohenmilstein.com
   WALLER LANSDEN DORTCH                 sgtaylor@cohenmilstein.com
   &DAVIS,LLP                            jmesserschmidt@cohenmilstein.com
   Paul S. Davidson
   511 Union Street, Suite 2700
   Nashville, TN 37219
                                         �¢£ee_
   Tel: (615) 244-6380                   GORDON BALL PLLC
   paul.davidson@wallerlaw.com           Gordon Ball (TN BPR #001135)

     ��-
                                         7001 Old Kent Drive
                                         Knoxville, TN 37919
                                         Tel: (865) 525-7028
   LEWIS ROCA ROTHGERBER                 Fax: (865) 525-4679
   CHRISTIE LLP                          gball@gordonball.com
   Gary F. Bendinger
   201 East Washington St., Suite 1200   Co-Lead Counselfor Plaintiffs
   Phoenix, AZ 85004
   Tel: (602) 262-5353
   gbendinger@lewisroca.com

   Counsel for Defendant KPMG LLP




Case 3:16-cv-00121-TAV-DCP Document 236 Filed 03/14/22 Page 33 of 33 PageID #:
                                  21156
